Case 4:15-cv-03756 Document 13-14 Filed on 02/04/16 in TXSD Page 1 of 2




             EXHIBIT 14
    Case 4:15-cv-03756 Document 13-14 Filed on 02/04/16 in TXSD Page 2 of 2



-----Original Message-----
From: Mark [mailto:mark.vijay@thirumalaichemicals.com]
Sent: Friday, January 17, 2014 5:16 PM
To: 'Sethuram C G'
Cc: 'ramya.b@bizdev.thirumalaichemicals.com'; 'nambirajan.n@thirumalaichemicals.com'
Subject: RE: Orthoxylene into India

Thank you for your encouragement, Sir. Will do.

Regards,
Mark




                                                                                THI 0000209
